Case 6:21-cv-01245-CEM-GJK Document 12 Filed 08/05/21 Page 1 of 8 PageID 293




                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION


RARE BREED TRIGGERS, LLC,
A FLORIDA LIMITED
LIABILITY COMPANY and
KEVIN C. MAXWELL,

                       Plaintiffs,

v.                                                        Case No. 6:21-cv-1245-CEM-GJK

MERRICK GARLAND, CRAIG
SAIER, and MARVIN
RICHARDSON,

                       Defendants.
                                             /

                                            ORDER
      THIS CAUSE is before the Court on Plaintiffs’ Emergency Motion for an Ex

Parte Temporary Restraining Order (“TRO”) (“Motion,” Doc. 3). 1 For the reasons

stated herein, the Motion will be denied.

                                     I.      BACKGROUND

      This case arises from a cease-and-desist letter (“ATF Letter,” Doc. 3-6) issued

to Plaintiffs by the U.S. Department of Justice, Bureau of Alcohol, Tobacco,

Firearms and Explosives (“ATF”) requiring that Plaintiffs “[c]ease and desist all



      1
          Plaintiffs also concurrently filed an Emergency Motion for a Preliminary Injunction (Doc.
2).



                                            Page 1 of 8
Case 6:21-cv-01245-CEM-GJK Document 12 Filed 08/05/21 Page 2 of 8 PageID 294




manufacture and transfer of the Rare Breed Trigger FRT-15,” which—per the ATF’s

Letter—“is a combination of parts designed and intended for use in converting a

weapon into a machinegun.” (Id. at 2). The ATF Letter, which was issued on July

26, 2021, advises that Plaintiffs’ failure to comply with the requirements of the letter

“may result in (1) law enforcement action by ATF, including a referral of this matter

to the United States Attorney’s Office for criminal prosecution; (2) tax assessment

and collection; and/or (3) seizure and forfeiture of the firearms and property involved

in violations of Federal law.” (Id.). Plaintiffs have filed claims for review of an

agency action under the Administrative Procedure Act, 5 U.S.C. § 702, (Compl.,

Doc. 7, at 16), and seek a TRO from this Court restraining Defendants from taking

the steps outlined in the ATF Letter, (see generally Doc. 3).

                              II.    LEGAL STANDARD

      Pursuant to Federal Rule of Civil Procedure 65(b), a district court may issue

a TRO “without written or oral notice to the adverse party” if the movant provides

“specific facts . . . [that] clearly show that immediate and irreparable injury, loss, or

damage will result to the movant before the adverse party can be heard in

opposition.” The movant must certify in writing “the reasons why [notice] should

not be required,” Fed. R. Civ. P. 65(b)(1)(B). Additionally, to obtain such

emergency, ex parte relief, the movant must establish: “(1) the likelihood that the

movant ultimately will prevail on the merits of the claim, (2) the irreparable nature




                                       Page 2 of 8
Case 6:21-cv-01245-CEM-GJK Document 12 Filed 08/05/21 Page 3 of 8 PageID 295




of the threatened injury and the reason that notice is impractical, (3) the harm that

might result absent a restraining order, and (4) the nature and extent of any public

interest affected.” M.D. Fla. R. 6.01(b)(1)–(4).

                                   III.   ANALYSIS

      “‘A showing of irreparable injury is the sine qua non of injunctive relief.’ . . .

[T]he absence of a showing of irreparable injury, ‘would, standing alone, make

preliminary injunctive relief improper.’” Hoop Culture, Inc. v. Gap Inc., 648 F.

App’x 981, 984 (11th Cir. 2016) (quoting Siegel v. LePore, 234 F.3d 1163, 1176

(11th Cir. 2000) (en banc))). Therefore, the Court begins with this element.

      In the Motion, Plaintiffs primarily focus on harm that could result from a

criminal prosecution. However, Plaintiffs fail to address the most basic presumption

inherent in their argument—why this Court has the authority to temporarily restrain

a law enforcement action or criminal prosecution by an executive branch agency.

Upon careful review, this Court is unsure that such authority exists, and even if it

does, the Court would decline to issue a TRO in recognition of principles of equity.

      Younger v. Harris, 401 U.S. 37 (1971), sets forth the framework for a district

court to consider when a plaintiff seeks to enjoin criminal prosecution by a state. Of

note, Younger holds that “the normal thing to do when federal courts are asked to

enjoin pending proceedings in state courts is not to issue such injunctions.” Id. at 45;

see also Hughes v. Att’y General of Fla., 377 F.3d 1258, 1262–63 (11th Cir. 2004)




                                      Page 3 of 8
Case 6:21-cv-01245-CEM-GJK Document 12 Filed 08/05/21 Page 4 of 8 PageID 296




(citing New Orleans Pub. Serv., Inc. v. Council of New Orleans, 491 U.S. 350, 364

(1989); Younger, 401 U.S. at 43–44)). Many district courts have utilized the Younger

framework to conclude that it is improper for a federal court to enjoin a federal

criminal prosecution absent circumstances that do not exist here. Thomas v. Shroff,

No. 21-CV-0450 (LLS), 2021 U.S. Dist. LEXIS 32562, at *5 (S.D.N.Y. Feb. 19,

2021) (collecting cases) (“Many courts have extended the holding of Younger and

concluded that federal courts also may not stay or enjoin federal prosecutions.”).

However, at least some courts have questioned whether Younger applies to “a

petition for a federal civil injunction to restrain an ongoing federal criminal

proceeding.” Deaver v. Seymour, 822 F.2d 66, 69 (D.C. Cir. 1987) (emphasis in

original).

      Regardless, whether Younger applies or not, this Court must still consider “the

traditional reluctance . . . of an equity court to interfere with criminal proceedings,”

even in the circumstance of a requested “preindictment civil injunction action[].”

Christoforu v. United States, 842 F. Supp. 1453, 1456 (S.D. Fla. 1994) (noting that

“[p]rospective defendants cannot, by bringing ancillary equitable proceedings,

circumvent federal criminal procedure” (quoting Devaer, 822 F.2d at 71)). Indeed,

this “Court is bound by the ‘basic doctrine of equity jurisprudence that courts of

equity should not act, and particularly should not act to restrain a criminal

prosecution, when the moving party has an adequate remedy at law and will not




                                      Page 4 of 8
Case 6:21-cv-01245-CEM-GJK Document 12 Filed 08/05/21 Page 5 of 8 PageID 297




suffer irreparable injury if denied equitable relief.’” Id. (quoting Younger, 401 U.S.

at 91). That is, “[c]ertain types of injury, in particular, the cost, anxiety, and

inconvenience of having to defend against a single criminal prosecution, could not

by themselves be considered ‘irreparable’ in the special legal sense of that term.”

Boyd v. Georgia, 512 F. App’x 915, 918 (11th Cir. 2013) (quoting Younger, 401

U.S. at 46); but see Juluke v. Hodel, 811 F.2d 1553 (D.C. Cir. 1987) (explaining a

narrow exception to this principle that does not apply to the instant case).

       Here, where Plaintiffs seek primarily to have the Court enjoin law

enforcement action by the ATF leading to the potential criminal prosecution of

Plaintiffs, the resulting consequences from any such criminal prosecution cannot

constitute irreparable harm.2 Boyd, 512 F. App’x at 918.

       Plaintiffs’ remaining arguments regarding irreparable harm similarly fail.

First, Plaintiffs argue that they will suffer various business impacts from Defendants’

seizure of Plaintiffs’ assets. (Doc. 3 at 22). But Plaintiffs have not shown that these

potential consequences are imminent. The ATF Letter only requires Plaintiffs to

cease and desist manufacture and transfer of the FRT-15 trigger and to “[c]ontact

ATF within 5 days of receipt of th[e] letter to develop a plan for addressing those

machineguns already distributed.” (Doc. 3-6 at 2). Plaintiffs have not explained


       2
         This principle similarly applies to Plaintiff Maxwell’s argument that he is “at risk of
suspension of his legal license due to criminal prosecution,” (Doc. 3 at 22), because that is a
consequence only encompassed within a potential criminal prosecution.



                                          Page 5 of 8
Case 6:21-cv-01245-CEM-GJK Document 12 Filed 08/05/21 Page 6 of 8 PageID 298




whether they have complied with the ATF Letter, so the potential consequential

actions by ATF for noncompliance may never even occur and thus are certainly not

imminent. Further, Plaintiffs have not explained why complying with the ATF

Letter—i.e., ceasing manufacture and transfer of the FRT-15 trigger or developing

a plan with the ATF—during the short time necessary to allow notice and a hearing

would cause irreparable harm. Plaintiffs have also not explained why the potential

harm to their business could not be remedied by monetary relief. Ne. Fla. Chapter

of Ass’n of Gen. Contractors v. Jacksonville, 896 F.2d 1283, 1285 (11th Cir. 1990)

(“An injury is ‘irreparable’ only if it cannot be undone through monetary remedies.

. . . Mere injuries, however substantial, in terms of money, . . . are not enough.”

(quoting Sampson v. Murray, 415 U.S. 61, 90 (1974)); accord United States v.

Jefferson Cnty., 720 F.2d 1511, 1520 (11th Cir. 1983)).

      Even assuming arguendo that Plaintiffs have chosen to not comply with the

ATF Letter, Plaintiffs have still failed to show imminent irreparable injury. Plaintiffs

argue that “it is not practicable to provide notice to the Defendants prior to the

issuance of a temporary restraining order because the Defendants clearly intend to

act in a very short time frame, and neither the Plaintiffs nor this Court will be privy

to when the Defendants take action unless they are restrained.” (Doc. 3 at 23–24).

First, it is not clear from the ATF Letter when Defendants intend to act, but it

certainly does not appear that Defendants’ actions are imminent. (See Doc. 3-6 at 2




                                      Page 6 of 8
Case 6:21-cv-01245-CEM-GJK Document 12 Filed 08/05/21 Page 7 of 8 PageID 299




(noting only that failure to comply “may result in . . . referral of this matter to the

United States Attorney’s Office for criminal prosecution” (emphasis added))).

Second, while the Court may not be privy to if or when Defendants act, Plaintiffs

are privy to such information because the actions that Plaintiffs seek to enjoin may

only occur if Plaintiffs fail to comply with the actions required by the ATF Letter.

(See id.).

       Because Plaintiffs have failed to demonstrate irreparable harm sufficient to

justify the extraordinary remedy of a TRO, Plaintiffs’ Motion will be denied. Hoop

Culture, 648 F. App’x at 984.

                                  IV.    CONCLUSION

       In accordance with the foregoing, it is ORDERED and ADJUDGED as

follows:

             1. Plaintiffs’ Emergency Motion for an Ex Parte Temporary Restraining

                Order (Doc. 3) is DENIED.

             2. Plaintiffs’ Emergency Motion for a Preliminary Injunction (Doc. 2) is

                set for an evidentiary hearing on Wednesday, August 18, 2021, at

                2:00 PM in Courtroom 5B, George C. Young United States

                Courthouse Annex, 401 W. Central Boulevard, Orlando, Florida,

                before the Honorable Carlos E. Mendoza. The Court has reserved no

                more than two hours for the hearing.




                                        Page 7 of 8
Case 6:21-cv-01245-CEM-GJK Document 12 Filed 08/05/21 Page 8 of 8 PageID 300




          3. On or before Friday, August 6, 2021, Plaintiffs shall serve

             Defendants with a copy of Plaintiffs’ Emergency Motion for an Ex

             Parte Temporary Restraining Order, Plaintiffs’ Emergency Motion for

             a Preliminary Injunction (Doc. 2), and this Order.

          4. Defendants are not required to file a written response to Plaintiffs’

             Emergency Motion for a Preliminary Injunction, but if they choose to

             do so, it must be filed on or before Monday, August 16, 2021.

      DONE and ORDERED in Orlando, Florida on August 5, 2021.




Copies furnished to:

Counsel of Record




                                    Page 8 of 8
